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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


GERARD DAVID McCREE, JR.,              *
                                       *
 Plaintiff,                            *
                                       *
vs.                                    * CIVIL ACTION NO.15-00249-CG-B
                                       *
GWENDOLYN GIVENS, et al.,              *
                                       *
 Defendant.                            *


                                JUDGMENT


      It is ORDERED, ADJUDGED, and DECREED that Petitioner’s complaint

be dismissed without prejudice as set out.

      DONE and ORDERED this 23rd day of February, 2015.



                                   /s/ Callie V. S. Granade
                                   UNITED STATES DISTRICT JUDGE
